Case€ o-25-/Zo1s-laS DVOCLl Filed U//loifzo Entered O//i1s/25 O9iSsy05

 

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United States Bankruptcy Court for the:

Falher District of N e|~ Yonle

(State)
Case number (if known): Chapter

L) Check if this is an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

 

 

1. Debtor's name | o> cCo| ey Dn L L Cc

2. All other names debtor used

 

in the last 8 years

 

 

 

Include any assumed names,
trade names, and doing business

 

as names

 

3. Debtor's federal Employer Y S. 396 | 304

Identification Number (EIN)

 

 

4. Debtor's address Principal place of business Mailing address, if different from principal place
of business
(03 colory Dr
Number Street / Number Street

Hol bavcie NY 1/74

 

P.O. Box

 

 

City state ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

 

County

 

Number Street

 

 

 

City State ZIP Code

5. Debtor's website (URL)

 

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Name *

Debtor | O» ¢ O\ ory On LAC Case number (if known)

6. Type of debtor LaCorporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
LJ Partnership (excluding LLP)
LJ Other. Specify:

 

A. Check one:
7. Describe debtor's business

) Health Care Business (as defined in 11 U.S.C. § 101(27A))
L¥Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
L) Railroad (as defined in 11 U.S.C. § 101(44))

C) Stockbroker (as defined in 11 U.S.C. § 104(53A))

LJ Commodity Broker (as defined in 11 U.S.C. § 101(6))

LJ Clearing Bank (as defined in 11 U.S.C. § 781(3))

C) None of the above

B. Check all that apply:

L) Tax-exempt entity (as described in 26 U.S.C. § 501)

L) Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

J investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www. urts.gov/four-digit-national- lation-naics-codes .

       

 

 

8. Under which chapter of the Check one:

Bankruptcy Code is the
debtor filing? JA Chapter ‘
_) Chapter 9
A debtor who | he C) Chapter 11. Check alll that apply:
ebtor who is a “small business
debtor” must check the first sub- LJ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
box. A debtor as defined in aggregate noncontingent liquidated debts (excluding debts owed to insiders or
§ 1182(1) who elects to proceed affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
under subchapter V of chapter 11 recent balance sheet, statement of operations, cash-flow statement, and federal
(whether or not the debtor is a income tax return or if any of these documents do not exist, follow the procedure in
“small business debtor”) must 11 U.S.C. § 1116(1)(B).
check the second sub-box. LJ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate

noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Oa plan is being filed with this petition.

) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

L) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

CL) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

C) Chapter 12

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor o> CO Of On LE

 

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

lf more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

11. Why is the case filed in this
district?

Aves. istrict en ltcn~
District _ KAT CY

entered Of/1s/25 O9isgiQo

Case number (if known)

 

 

No

OQ) Yes. Debtor

MM/ DD /YYYY

Relationship

 

District

When

 

Case number, if known

 

Check all that apply:

a Bebtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other

district.

QA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have ao

possession of any real
property or personal property
that needs immediate
attention?

LI] Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

 

 

 

 

MM / DD /YYYY

Why does the property need immediate attention? (Check ail that apply.)

it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

CL) it needs to be physically secured or protected from the weather.

L) It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related

assets or other options).

J Other

 

Where is the property?

 

Number Street

 

 

City

Is the property insured?
) No

(J Yes. insurance agency

 

State ZIP Code

 

Contact name

 

Phone

 

When UL Case number % - zu 13/5
MM / DOD LYYYY
When ils [7 Case number S-UL -)3 “(6

22 Statistical and administrative information
= a SS

Official Form 201

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy

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Debtor [o> ¢ ory Oe LLC Case number ir maen
os |

 

13. Debtor’s estimation of Check one:

available funds (J Funds will be available for distribution to unsecured creditors.

OF After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

W149 C) 1,000-5,000 C) 25,001-50,000
14. estimated number of QO 50-99 OQ) 5,001-10,000 Q) 50,001-100,000
ereatrors OQ) 100-199 OQ) 10,001-25,000 OQ) More than 100,000
LJ 200-999
eee LJ $0-$50,000 LJ $1,000,001-$10 million LJ $500,000,001-$1 billion
LJ $50,001-$100,000 LJ $10,000,001-$50 million LJ $1,000,000,001-$10 billion
LJ $100,001-$500,000 LJ $50,000,001-$100 million LJ $10,000,000,001-$50 billion
$500,001-$1 million LJ $100,000,001-$500 million LJ More than $50 billion
L) $0-$50,000 L) $1,000,001-$10 million LJ $500,000,001-$1 billion
16. Estimated liabilities OQ $50,001-$100,000 OQ $10,000,001-$50 million OQ) $1,000,000,001-$10 billion
LJ $100,001-$500,000 LJ $50,000,001-$100 million C) $10,000,000,001-$50 billion
XK $500,001-51 million OQ) $100,000,001-$500 million Q) More than $50 billion

 

am Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of 4.
debtor petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of ~~ Uln that ce foregoing is true and correct.

Executed on

 

iYYYY

x 7 5a h Joh ol

signature of authprized esentative of debtor Printed name

Title Mm ny nace

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4

 
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entered Of/1s/25 O9isgiQo

 

 

 

 

 

 

 

 

Debtor or \ o 4 C DA of | ON \ \w qq Case number (i known)
18. Signature of attorney x
Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code

a

 

Contact phone

 

Email address

 

Bar number

State

 

Official Form 201

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy

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UBB Reui  M saa Metre m lei iti le p

 

Debtor Name

 

United States Bankruptcy Court for the: Eastern District of New York

Case number (/f known):

 

 

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
ee are ree eee

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011,

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

a4 Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

 

 

 

 

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

x Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Co ovoovooevoo

Other document that requires a declaration

| declare under penalty of perjury that the foregoing is true and correc
Al
Executed on { x

Signature of individual es ‘on behalf of debtor

Fl ~) hal

MINM eo

Position or relationshipto debtor —_U/

 

Printed name

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
Case€ o-25-/Zo1s-laS DVOCLl Filed U//loifzo Entered O//i1s/25 O9iSsy05

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

www.nyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): \O 5 Colory VA LEE CASE NO.:

 

 

 

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same:

(ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners;
or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
included in the property of another estate under 11 U.S.C. § 541(a).]

C) NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

OXTHE FOLLOWING RELATED CASKE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: Sire LL 3/ \ JUDGE: Stance De DISTRICT/DIVISION: ©Q)\K/™

CASE STILL PENDING: (YES/NO): Ne [If closed] Date of closing: q [> | ZO7

 

 

CURRENT STATUS OF RELATED CASE: Q\oreg
(Discharged/awaiting discharge, confirmed, dismissed, etc.)

 

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _C \Q/&?

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: (o% Col vw yr \dvl \\h \u N Y (LN J

 

 

 

 

 

2. CASENO.: OITIZ(LL sunce:_S Concello DISTRICT/DIVISION: © acd teem
CASE STILL PENDING: (YES/NO): v J) [If closed] Date of closing: iI [ b 1 JUL
CURRENT STATUS OF RELATED CASE: e \y )<2

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _ Clas

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN

SCHEDULE “A” OF RELATED CASES: Lco3 Col xy ON \Sst bpate VY

 
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[OVER]

DISCLOSURE OF RELATED CASES (cont’d)

3. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE STILL PENDING: (YES/NO): [Tf closed] Date of closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, etc.)

 

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:

 

 

 

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

| am admitted to practice in the Eastern District of New York (Y/N):

 

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any Case now pending or pending at any
time, except as indicated elsewhere on this form.

   
  

 

 

 

 

Signature of Debtor’s Attorney Signature of Pro-se\Pebtor/Petitioner

Mailing Address of Soy tN
Walbod \ y LVTY

 

 

 

City, State, Zip Code :
» WW) LAA CA mpi (Cn
Email Address ()

SIGNS b bos

Area Code and Telephone Number :

Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result,
Case€ o-25-/Zo1s-laS DVOCLl Filed U//loifzo Entered O//i1s/25 O9iSsy05

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re: Case No.
103 Colony Dr LLC

Chapter 7 [x]

Debtor(s)
68 2 2 ee ee ee ee <j

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

 

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: LI (\ 2, [=]

 

Debtor

 

 

Joint Debtor

s/
Attorney for Debtor

 

USBC-44 Rev. 11/15
Case€ o-25-/Zo1s-laS DVOCLl Filed U//loifzo Entered O//i1s/25 O9iSsy05

structured Asset Mortgage Investments

255 Merrick Rd

Rockville Centre NY 11570
